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 6                                  UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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     UNITED STATES OF AMERICA,                       )
10                                                   )
                      Plaintiff,                     )      CASE NO. MJ08-31
11             v.                                    )
                                                     )
12                                                   )      DETENTION ORDER
     KULWANT SINGH BRAR,                             )
13                                                   )
                 Defendant.                          )
14 ___________________________________               )
15 Offense charged:
16             Count I:       Possession with Intent to Distribute Marijuana, in violation of Title 21,
17                            U.S.C., Sections 841(a)(1) and 846(b)(1)(D).
18 Date of Detention Hearing: February 7, 2008
19             The Court, having conducted a contested detention hearing pursuant to Title 18 U.S.C.
20 § 3142(f), and based upon the factual findings and statement of reasons for detention hereafter set
21 forth, finds that no condition or combination of conditions which the defendant can meet will
22 reasonably assure the appearance of the defendant as required and the safety of any other person and
23 the community. The Government was represented by Mary Dimke. The defendant was represented
24 by Terrence Kellogg.
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     DETENTION ORDER
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 1           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)     There is probable cause to believe the defendant committed the drug offense of
 3                    possession with intent to distribute marijuana. The maximum penalty is in
 4                    excess of ten years. There is therefore a rebuttable presumption against the
 5                    defendant’s release based upon both dangerousness and flight risk, under Title
 6                    18 U.S.C. § 3142(e).
 7            (2)     The defendant has no stable employment.
 8            (3)     He has mental health issues and no ongoing treatment.
 9            (4)     He is a Canadian citizen.
10            (5)     Defendant has no strong family ties and no apparent community support in
11                    Canada.
12            (6)     There is a BICE detainer filed against defendant.
13   Based upon the foregoing information, it appears that there is no condition or combination of
14   conditions that would reasonably assure future Court appearances and/or the safety of other
15   persons or the community.
16            It is therefore ORDERED:
17            (l)     The defendant shall be detained pending trial and committed to the custody of
18                    the Attorney General for confinement in a correction facility separate, to the
19                    extent practicable, from persons awaiting or serving sentences or being held in
20                    custody pending appeal;
21            (2)     The defendant shall be afforded reasonable opportunity for private consultation
22                    with counsel;
23            (3)     On order of a court of the United States or on request of an attorney for the
24                    Government, the person in charge of the corrections facility in which the
25                    defendant is confined shall deliver the defendant to a United States Marshal for
26                    the purpose of an appearance in connection with a court proceeding; and


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 1         (4)    The clerk shall direct copies of this order to counsel for the United States, to
 2                counsel for the defendant, to the United States Marshal, and to the United
 3                States Pretrial Services Officer.
 4         DATED this 11th day of February, 2008.
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                                                         MONICA J. BENTON
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                                                         United States Magistrate Judge
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     DETENTION ORDER
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